                                        Case 24-19662             Doc 1       Filed 11/14/24           Page 1 of 50

 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Maryland District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                               Chapter 11
                                                               Chapter 12
                                                              
                                                              ✔ Chapter 13                                                  Check if this is an
                                                                                                                               amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                                6/24

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                          Ericka
                                         __________________________________________________           __________________________________________________
       identification (for example,      First name                                                   First name
       your driver’s license or           L.
                                         __________________________________________________           __________________________________________________
       passport).                        Middle name                                                  Middle name

       Bring your picture                 Alston Buck
                                         __________________________________________________           __________________________________________________
       identification to your meeting    Last name                                                    Last name
       with the trustee.                 ___________________________                                  ___________________________
                                         Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                            7    5    3    7
      your Social Security               xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                  OR                                                           OR
      Individual Taxpayer
      Identification number              9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                                     Case 24-19662                  Doc 1        Filed 11/14/24            Page 2 of 50
               Ericka L. Alston Buck
Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           529 Dark Star Circle                                           _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Havre De Grace                       MD        21078
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Harford County                                                 _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
                                      Case 24-19662                 Doc 1         Filed 11/14/24          Page 3 of 50
                Ericka L. Alston Buck
 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                             Chapter 11
                                             Chapter 12
                                            
                                            ✔ Chapter 13




 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for     No
      bankruptcy within the
                                                        MD                                                                       1916281
                                                                                                          05/08/2019 Case number __________________
      last 8 years?         
                            ✔
                              Yes.             District ____________________________________________ When ______________

                                                        MD
                                               District ____________________________________________      08/15/2022 Case number __________________
                                                                                                     When ______________         2214461

                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
                                      Case 24-19662                Doc 1       Filed 11/14/24              Page 4 of 50
             Ericka L. Alston Buck
Debtor 1      _______________________________________________________                             Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor              
                                           ✔ No. Go to Part 4.
    of any full- or part-time
    business?                               Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                     _______________________________________________________________________________________
                                                   Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                 _______________________________________________________________________________________
                                                   Number    Street
    LLC.
    If you have more than one
                                                   _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                              _______________________________________________         _______     __________________________
                                                    City                                                   State       ZIP Code


                                                   Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above
                                           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
13. Are you filing                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
under Chapter 11 of                        most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
the Bankruptcy Code,                       if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
and are you a small
business debtor?                           
                                           ✔ No. I am not filing under Chapter 11.
For a definition of small
business debtor, see                        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D).                              the Bankruptcy Code.
                                            Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                   Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                            Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in
                                              the Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                 
                                           ✔ No
    property that poses or is
    alleged to pose a threat                Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                     If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                     Where is the property?




   Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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             Ericka L. Alston Buck
Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
                                        Case 24-19662                    Doc 1           Filed 11/14/24          Page 6 of 50
                Ericka L. Alston Buck
Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                
                                              ✔ No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                        No
    administrative expenses
    are paid that funds will be                         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                     
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                      50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                              
                                              ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                              
                                              ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Ericka L. Alston Buck
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    11/14/2024
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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               Ericka L. Alston Buck
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ James Logan                                                   Date          _________________
                                                                                                                                11/14/2024
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  James Logan
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Nova Satus Law
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 2419 Maryland Ave
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                 Baltimore                                                       MD            21218
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 410-243-1987
                                                              ______________________________         Email address
                                                                                                                     jim@jamesrloganpa.com
                                                                                                                      _________________________________________



                                                 25599                                                           MD
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
                                            Case 24-19662                      Doc 1            Filed 11/14/24                   Page 8 of 50


 Fill in this information to identify your case:

 Debtor 1
                     Ericka L. Alston Buck
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 547,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 3,350.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 550,350.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 527,091.31
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 553.56
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 527,644.87
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 13,541.67
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 11,307.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                                        Case 24-19662             Doc 1        Filed 11/14/24            Page 9 of 50
                  Ericka Alston Buck
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       13,541.67
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                               0.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                               Case 24-19662                            Doc 1              Filed 11/14/24                         Page 10 of 50


Fill in this information to identify your case and this filing:

                     Ericka L. Alston Buck
Debtor 1
                     First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: District of
Maryland
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 529 Dark Star Circle                                                       Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Havre De Grace MD                 21078
                                                                                   Land                                                                         $ 547,000.00                        $ 547,000.00
            City                    State     ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Harford County                                                         Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check                                     Fee simple
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 547,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 5
                                                 Case 24-19662                           Doc 1              Filed 11/14/24                        Page 11 of 50
Debtor 1          Ericka L. Alston Buck                                                                                                                           Case number(if known)
                 First Name          Middle Name         Last Name




    3.1 Make:Porche                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Macan                                                                                                                                          amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2017
                                                                                       Debtor 2 only
           Approximate mileage: 100000                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 0.00
              Condition:Good;                                                                                                                                                                           $ 0.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                 $ 0.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

           All household goods and furnishings
                                                                                                                                                                                                        $ 1,500.00


  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

           All electronics including TV's computers music equipment etc
                                                                                                                                                                                                        $ 500.00


  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...
  11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
              No
              Yes. Describe...

           All articles of clothing including shoes and outerwear
                                                                                                                                                                                                        $ 300.00



                                                                                                                                                                                                                     page 2 of 5
                                                   Case 24-19662                               Doc 1                Filed 11/14/24                           Page 12 of 50
Debtor 1         Ericka L. Alston Buck                                                                                                                               Case number(if known)
                First Name            Middle Name           Last Name




  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

           All jewelry including rings watches bracelets earrings etc
                                                                                                                                                                                                      $ 150.00


  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 2,450.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                                     claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................    Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     WF; acct ending 2492; balance as of                                                                                               $ 0.00

        17.2. Checking account:                                     WF; acct ending 3709; balance as of                                                                                               $ 0.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        Fidelity                                                                                                                                                                                     $ 900.00
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately


                                                                                                                                                                                                                  page 3 of 5
                                            Case 24-19662       Doc 1         Filed 11/14/24             Page 13 of 50
Debtor 1        Ericka L. Alston Buck                                                                               Case number(if known)
              First Name          Middle Name   Last Name




  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:                   $ 0.00
                                                                                                                 State:                     $ 0.00
                                                                                                                 Local:                     $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

           No
           Yes. Give specific information....
  31. Interests in insurance policies
           No
           Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
           No
           Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           No
           Yes. Give specific information....




                                                                                                                                                         page 4 of 5
                                                     Case 24-19662                              Doc 1                Filed 11/14/24                             Page 14 of 50
Debtor 1            Ericka L. Alston Buck                                                                                                                                          Case number(if known)
                  First Name            Middle Name           Last Name




  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
          off claims
               No
               Yes. Give specific information....
  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤               $ 900.00


 Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                      $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                   $ 547,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 2,450.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 900.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 3,350.00                          Copy personal property total➤          +$
                                                                                                                                                                                                                3,350.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                         $ 550,350.00




                                                                                                                                                                                                                     page 5 of 5
                                        Case 24-19662                 Doc 1             Filed 11/14/24           Page 15 of 50

 Fill in this information to identify your case:

                     Ericka L. Alston Buck
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Maryland   District of __________
                                                                                        (State)
 Case number
  (If known)
                     ___________________________________________                                                                                      Check if this is an
                                                                                                                                                         amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own                         exemption you claim

                                                                Copy the value from                     Check only one box
                                                                Schedule A/B                            for each exemption
                 Household Goods - All household goods and                                                                             Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief        furnishings
 description:
                                                                        1,500.00
                                                                       $________________          
                                                                                                  ✔ $ ____________
                                                                                                      1,000.00                         11-504 (b)(4)

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:         6
                 Household Goods - All household goods and                                                                             Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief           furnishings
 description:
                                                                         1,500.00
                                                                       $________________             500.00
                                                                                                  ✔ $ ____________                     11-504 (f)(1)(i)(1)

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:          6
                 Electronics - All electronics including TV's                                                                          Md. Code Ann., [Cts. & Jud. Proc.] §
 Brief
 description:
                 computers music equipment etc                         $________________
                                                                         500.00                   
                                                                                                  ✔ $ ____________
                                                                                                      500.00                           11-504 (f)(1)(i)(1)

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                             2
                                                                                                                                                               page 1 of __
                                  Case 24-19662 Doc 1 Filed 11/14/24 Page 16 of 50
Debtor           Ericka L. Alston Buck
                _______________________________________________________ Case number (if known)_____________________________________
                First Name       Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                       Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Clothing - All articles of clothing including shoes and                                                               Md. Code Ann., [Cts. & Jud. Proc.] §
Brief        outerwear                                                                                                               11-504 (f)(1)(i)(1)
description:
                                                                          300.00
                                                                         $________________         300.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         11
               Jewelry - All jewelry including rings watches bracelets                                                               Md. Code Ann., [Cts. & Jud. Proc.] §
Brief
description:
               earrings etc                                              $________________
                                                                          150.00                
                                                                                                ✔ $ ____________
                                                                                                    150.00                           11-504 (f)(1)(i)(1)
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:        12
               WF; acct ending 2492; balance as of (Checking Account)                                                                Md. Code Ann., [Cts. & Jud. Proc.] §
Brief
description:                                                             $________________
                                                                          0.00                  
                                                                                                ✔ $ ____________
                                                                                                    601.66                           11-504 (f)(1)(i)(1)

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        17.1
               WF; acct ending 3709; balance as of (Checking Account)                                                                Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                11-504 (f)(1)(i)(1)
description:
                                                                          0.00
                                                                         $________________         590.13
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:             17.2
               Fidelity                                                                                                              Md. Code Ann., [Cts. & Jud. Proc.] §
Brief                                                                                                                                11-504 (f)(1)(i)(1)
description:
                                                                          900.00
                                                                         $________________         900.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:             18

Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________       $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:


 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                  2
                                                                                                                                                      page ___ of __2
                                              Case 24-19662                     Doc 1     Filed 11/14/24               Page 17 of 50

  Fill in this information to identify your case:

  Debtor 1           Ericka L. Alston Buck
                     First Name                                Last Name
                                          Middle Name

  Debtor 2
  (Spouse, if filing) First Name                 Middle Name
                                                                    Last Name



  United States Bankruptcy Court for the: District of Maryland

  Case number                                                                                                                                        Check if this is
  (if know)                                                                                                                                          an amended
                                                                                                                                                     filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A             Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of            Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not             collateral that   portion If any
                                                                                                              deduct the value     supports this
                                                                                                              of collateral.       claim
 2.1                                                             Describe the property that secures the claim: $ 10,000.00         $ 547,000.00      $ 0.00


       Bulle Rock HOA
                                                               529 Dark Star Circle, Havre De Grace, MD 21078 -
       Creditor’s Name                                         $547,000.00
       c/o Rees Broome, PC
       Number                                                  As of the date you file, the claim is: Check all
                     Street
       1900 Gallows Road, Suite 700                            that apply.
                                                                  Contingent
       Tysons Corner VA               22182                       Unliquidated
       City                   State   ZIP Code                    Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                         Nature of lien. Check all that apply.
         Debtor 2 only                                            An agreement you made (such as mortgage or
                                                                  secured car loan)
         Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another                  Judgment lien from a lawsuit
              Check if this claim relates to a                    Other (including a right to offset)
              community debt                                   Last 4 digits of account number
       Date debt was incurred




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 2
                 Ericka L. Alston Buck
Debtor          First Name            Middle Name   Case 24-19662
                                                      Last Name                Doc 1         Filed 11/14/24               Page 18  ofnumber(if
                                                                                                                                Case   50 known)

 2.2                                                                Describe the property that secures the claim: $ 390,289.00           $ 547,000.00   $ 0.00


        Freedom Mtg                                               529 Dark Star Circle, Havre De Grace, MD 21078 -
        Creditor’s Name                                           $547,000.00
        907 Pleasant Valley Ave Ste 3
        Number                                                    As of the date you file, the claim is: Check all
                     Street
        Mount Laurel NJ                 08054                     that apply.
        City                  State     ZIP Code                     Contingent
        Who owes the debt? Check one.                                Unliquidated
          Debtor 1 only                                              Disputed
          Debtor 2 only
                                                                  Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                     An agreement you made (such as mortgage or
          At least one of the debtors and another                    secured car loan)
                                                                     Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                        Judgment lien from a lawsuit
                                                                     Other (including a right to offset)
        Date debt was incurred 2017
                                                                  Last 4 digits of account number 8318

 2.3                                                                Describe the property that secures the claim: $ 72,802.31            $ 547,000.00   $ 0.00


        US Dept of HUD                                            529 Dark Star Circle, Havre De Grace, MD 21078 -
        Creditor’s Name                                           $547,000.00
        451 7th Street SW
        Number                                                    As of the date you file, the claim is: Check all
                     Street
        Washington DC                 21410                       that apply.
        City                 State    ZIP Code                       Contingent
        Who owes the debt? Check one.                                Unliquidated
          Debtor 1 only                                              Disputed
          Debtor 2 only
                                                                  Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                     An agreement you made (such as mortgage or
          At least one of the debtors and another                    secured car loan)
                                                                     Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                        Judgment lien from a lawsuit
                                                                     Other (including a right to offset)
        Date debt was incurred
                                                                  Last 4 digits of account number

 2.4                                                                Describe the property that secures the claim: $ 54,000.00            $ 0.00         $ 54,000.00


        Westlake Financial
                                                                  2017 Porche Macan - $0.00
        Creditor’s Name
        4751 Wilshire Blvd #100
        Number                                                    As of the date you file, the claim is: Check all
                     Street
        Los Angeles CA                 90010                      that apply.
        City                 State     ZIP Code                      Contingent
        Who owes the debt? Check one.                                Unliquidated
          Debtor 1 only                                              Disputed
          Debtor 2 only
                                                                  Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                     An agreement you made (such as mortgage or
          At least one of the debtors and another                    secured car loan)
                                                                     Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                        Judgment lien from a lawsuit
                                                                     Other (including a right to offset)
        Date debt was incurred
                                                                  Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                             $ 527,091.31


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                                 Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 2
                                             Case 24-19662                   Doc 1         Filed 11/14/24            Page 19 of 50

   Fill in this information to identify your case:

                   Ericka L. Alston Buck
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: District of Maryland

   Case number                                                                                                                                             Check if this is
   (if know)                                                                                                                                               an amended
                                                                                                                                                           filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                  Total claim   Priority      Nonpriority
                                                                                                                                                amount        amount
  2.1                                                                     Last 4 digits of account number
         Comptroller of MD                                                                                                        $ 0.00        $ 0.00        $ 0.00
         Priority Creditor's Name
                                                                          When was the debt incurred?

         301 W. Preston St #409                                           As of the date you file, the claim is: Check all
         Number                                                           that apply.
                       Street
         Baltimore MD           21201                                        Contingent
         City           State   ZIP Code                                     Unliquidated
         Who owes the debt? Check one.                                       Disputed
             Debtor 1 only
                                                                          Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                             Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                             Taxes and certain other debts you owe the
             At least one of the debtors and another                         government
             Check if this claim relates to a community                      Claims for death or personal injury while you were
             debt                                                            intoxicated
         Is the claim subject to offset?                                    Other. Specify
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 10
                  Ericka L. Alston Buck
 Debtor          First Name           Middle Name   Case 24-19662
                                                       Last Name          Doc 1        Filed 11/14/24             Page 20  ofnumber(if
                                                                                                                        Case   50 known)

  2.2                                                                 Last 4 digits of account number
          Internal Revenue Service                                                                                            $ 0.00     $ 0.00          $ 0.00
          Priority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 7346                                                 As of the date you file, the claim is: Check all
          Number                                                      that apply.
                        Street
          Philadelphia PA               19101-7346                       Contingent
          City                State     ZIP Code                         Unliquidated
          Who owes the debt? Check one.                                  Disputed
              Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                         Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                         Taxes and certain other debts you owe the
              At least one of the debtors and another                    government
              Check if this claim relates to a community                 Claims for death or personal injury while you were
              debt                                                       intoxicated
          Is the claim subject to offset?                               Other. Specify
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                 Last 4 digits of account number
          ADVANCED MEDICAL MANAGEMENT                                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          c/o BEACON SERVICES, LLC                                    As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          PO Box 4597                                                    Unliquidated
                                                                         Disputed
          Lutherville Timonium MD                   21094
                                                                      Type of NONPRIORITY unsecured claim:
          City                            State     ZIP Code
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                 Last 4 digits of account number 8121
          American Credit Accept                                                                                                                               $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 2021

          961 E Main St                                               As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Spartanburg SC                29302                            Unliquidated
          City                State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                        page 2 of 10
                  Ericka L. Alston Buck
 Debtor          First Name         Middle Name   Case 24-19662
                                                    Last Name          Doc 1        Filed 11/14/24             Page 21  ofnumber(if
                                                                                                                     Case   50 known)

  4.3                                                              Last 4 digits of account number
          BGE                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 1475                                              As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Baltimore MD             21203                              Unliquidated
          City           State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.4                                                              Last 4 digits of account number
          Bulle Rock Community Association, Inc.                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          c/o Rees Broome, PC                                      As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          7101 Wisconsin Ave., Suite 1201                             Unliquidated
                                                                      Disputed
          Bethesda MD              20814
                                                                   Type of NONPRIORITY unsecured claim:
          City           State     ZIP Code
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.5                                                              Last 4 digits of account number
          Bureaus                                                                                                                         $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          c/o PRA Receivables Management, LLC                      As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          PO Box 41021                                                Unliquidated
                                                                      Disputed
          Norfolk VA             23541
                                                                   Type of NONPRIORITY unsecured claim:
          City        State      ZIP Code
          Who owes the debt? Check one.                              Student loans
              Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                              debts
              At least one of the debtors and another                Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                       page 3 of 10
                  Ericka L. Alston Buck
 Debtor          First Name           Middle Name   Case 24-19662
                                                      Last Name          Doc 1        Filed 11/14/24             Page 22  ofnumber(if
                                                                                                                       Case   50 known)

  4.6                                                                Last 4 digits of account number ****
          Capital One                                                                                                                     $ 553.56
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2020

          Po Box 31293                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Salt Lake City UT               84131                         Unliquidated
          City                   State    ZIP Code                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                Last 4 digits of account number
          CarMax Auto Finance dba CarMax Business                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Services,                                                  As of the date you file, the claim is: Check all that apply.
                                                                        Contingent
          225 Chastain Meadows Court,                                   Unliquidated
          Number
                        Street                                          Disputed
          Ste 210
                                                                     Type of NONPRIORITY unsecured claim:
          Kennesaw GA                 30144                            Student loans
          City                State   ZIP Code                          Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
          Who owes the debt? Check one.
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 only                                             debts
              Debtor 2 only                                            Other. Specify
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                Last 4 digits of account number 7190
          Celtic Bank/Contfinco                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2021

          4550 New Linden Hill Rd                                    As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Wilmington DE               19808                             Unliquidated
          City                State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 4 of 10
                  Ericka L. Alston Buck
 Debtor          First Name           Middle Name   Case 24-19662
                                                      Last Name          Doc 1        Filed 11/14/24             Page 23  ofnumber(if
                                                                                                                       Case   50 known)

  4.9                                                                Last 4 digits of account number 9803
          Credit One Bank Na                                                                                                                $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2021

          Po Box 98875                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Las Vegas NV                89193                             Unliquidated
          City                State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another
                                                                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.10 Discover Bank                                                 Last 4 digits of account number ****
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2017

          Po Box 30939                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Salt Lake City UT               84130                         Unliquidated
          City                   State    ZIP Code                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another
                                                                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.11 Fed Loan Serv                                                 Last 4 digits of account number 0005
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2021

          Po Box 60610                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Harrisburg PA               17106                             Unliquidated
          City                State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another
                                                                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 5 of 10
                  Ericka L. Alston Buck
 Debtor          First Name       Middle Name   Case 24-19662
                                                  Last Name          Doc 1        Filed 11/14/24             Page 24  ofnumber(if
                                                                                                                   Case   50 known)

  4.12 LVNV Funding                                              Last 4 digits of account number
                                                                                                                                        $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          Resurgent Capital Services                             As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          PO Box 10587                                              Unliquidated
                                                                    Disputed
          Greenville SC           29603
                                                                 Type of NONPRIORITY unsecured claim:
          City            State   ZIP Code
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Maryland Transportation Authority                         Last 4 digits of account number
                                                                                                                                        $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          2310 Broening Highway                                  As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Baltimore MD            21224                             Unliquidated
          City           State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.14 MD CCU                                                    Last 4 digits of account number
                                                                                                                                        $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          300 W. Preston St                                      As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Baltimore MD            21201                             Unliquidated
          City           State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                       page 6 of 10
                  Ericka L. Alston Buck
 Debtor          First Name            Middle Name   Case 24-19662
                                                       Last Name          Doc 1        Filed 11/14/24             Page 25  ofnumber(if
                                                                                                                        Case   50 known)

  4.15 MD EZ Pass                                                     Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          1 Turnpike Dr                                               As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Perryville MD               21903                              Unliquidated
          City           State        ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.16 Midland Credit                                                 Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          350 Camino DeLa Reina suite 100                             As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          San Diego CA                 92108                             Unliquidated
          City                State    ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.17 MVA                                                            Last 4 digits of account number
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          6601 Ritchie Hwy                                            As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Glen Burnie MD                 21062                           Unliquidated
          City                 State     ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                       page 7 of 10
                  Ericka L. Alston Buck
 Debtor          First Name         Middle Name   Case 24-19662
                                                    Last Name          Doc 1        Filed 11/14/24             Page 26  ofnumber(if
                                                                                                                     Case   50 known)

  4.18 NPRTO North-East, LLC                                       Last 4 digits of account number
                                                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          256 West Data Drive                                      As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Draper UT              84020                                Unliquidated
          City       State       ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.19 Portfolio Recovery                                          Last 4 digits of account number
                                                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          120 Corporate Blvd #100                                  As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Norfolk VA             23502                                Unliquidated
          City        State      ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.20 Santander                                                   Last 4 digits of account number
                                                                                                                                          $ 0.00
          Nonpriority Creditor's Name
                                                                   When was the debt incurred?

          PO Box 560284                                            As of the date you file, the claim is: Check all that apply.
          Number                                                      Contingent
                        Street
          Dallas TX           75356                                   Unliquidated
          City      State     ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                          Student loans
              Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                      that you did not report as priority claims
              At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community              debts
              debt                                                   Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                       page 8 of 10
                  Ericka L. Alston Buck
 Debtor          First Name           Middle Name   Case 24-19662
                                                      Last Name          Doc 1        Filed 11/14/24             Page 27  ofnumber(if
                                                                                                                       Case   50 known)

  4.21 Self/Atlantic Capital                                         Last 4 digits of account number 3635
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2021

          945 E Paces Ferry Rd Ne                                    As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Atlanta GA             30326                                  Unliquidated
          City        State      ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.22 Syncb/Tjx                                                     Last 4 digits of account number 4703
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2017

          Po Box 965015                                              As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Orlando FL              32896                                 Unliquidated
          City         State      ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another
                                                                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.23 Wells Fargo Bank, N.A.                                        Last 4 digits of account number
                                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          PO Box 10438, MAC F8235-02F                                As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Des Moines IA                 50306-0438                      Unliquidated
          City                State     ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                       page 9 of 10
                  Ericka L. Alston Buck
 Debtor          First Name           Middle Name   Case 24-19662
                                                      Last Name          Doc 1        Filed 11/14/24             Page 28  ofnumber(if
                                                                                                                       Case   50 known)

  4.24 Wf Bank Na                                                    Last 4 digits of account number 3829
                                                                                                                                                   $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2017

          Po Box 14517                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Des Moines IA                 50306                           Unliquidated
          City                State     ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another
                                                                        Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

   Total claims          6a. Domestic support obligations                                             6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                                6b.   $ 0.00
                         government
                         6c. Claims for death or personal injury while you were                       6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that               6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                          6e.
                                                                                                             $ 0.00



                                                                                                                Total claim

   Total claims          6f. Student loans                                                            6f.   $ 0.00
   from Part 2
                         6g. Obligations arising out of a separation agreement or                     6g.   $ 0.00
                             divorce that you did not report as priority claims
                         6h. Debts to pension or profit-sharing plans, and other                      6h.   $ 0.00
                             similar debts
                         6i. Other. Add all other nonpriority unsecured claims. Write that            6i.   $ 553.56
                             amount here.
                         6j. Total. Add lines 6f through 6i.                                          6j.
                                                                                                             $ 553.56




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                             page 10 of 10
                                    Case 24-19662                  Doc 1         Filed 11/14/24             Page 29 of 50

  Fill in this information to identify your case:

  Debtor 1
                     Ericka L. Alston Buck
                      First Name                               Last Name
                                      Middle Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name
                                                                    Last Name



  United States Bankruptcy Court for the: District of Maryland

  Case number                                                                                                                   Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                         Schedule G: Executory Contracts and Unexpired Leases                          page 1 of 1
                                  Case 24-19662                   Doc 1      Filed 11/14/24         Page 30 of 50

Fill in this information to identify your case:

Debtor 1
                Ericka L. Alston Buck
                     First Name                       Last Name
                                  Middle Name

Debtor 2
(Spouse, if filing) First Name          Middle Name
                                                           Last Name



United States Bankruptcy Court for the: District of Maryland

Case number                                                                                                                        Check if this is
(if know)                                                                                                                          an amended
                                                                                                                                   filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                                                                                          Check all schedules that apply:




Official Form 106H                                                  Schedule H: Your Codebtors                                              page 1 of 1
                                     Case 24-19662            Doc 1            Filed 11/14/24         Page 31 of 50

 Fill in this information to identify your case:

                      Ericka L. Alston Buck
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Maryland  District
                                                                                  tate)
 Case number         ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                           Employed
    employers.                                                         Not employed                                 
                                                                                                                     ✔ Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________             __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Treyway Multi Treatment
                                         Employer’s name            __________________________________              __________________________________


                                         Employer’s address           1 North Charles Street
                                                                   _______________________________________        ________________________________________
                                                                    Number Street                                  Number    Street

                                                                   _______________________________________        ________________________________________

                                                                   _______________________________________        ________________________________________

                                                                      Baltimore, MD 21201
                                                                   _______________________________________        ________________________________________
                                                                    City            State  ZIP Code                 City                State ZIP Code

                                          How long employed there?________________________                          ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.      13,541.67                    0.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      + $____________
                                                                                                                              0.00

 4. Calculate gross income. Add line 2 + line 3.                                          4.      13,541.67
                                                                                                $__________                    0.00
                                                                                                                      $____________




Official Form 106I                                             Schedule I: Your Income                                                        page 1
                 Ericka  L. Alston Buck
                                            Case 24-19662                       Doc 1             Filed 11/14/24              Page 32 of 50
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.     13,541.67
                                                                                                                        $___________                   0.00
                                                                                                                                               $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
                                                                                                                               0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      13,541.67
                                                                                                                        $____________                   0.00
                                                                                                                                               $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                     0.00
                                                                                                                        $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00           + $_____________
                                                                                                                                                        0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                          13,541.67
                                                                                                                        $___________    +              0.00
                                                                                                                                               $_____________        = $_____________
                                                                                                                                                                         13,541.67

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                   11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                         13,541.67
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                         12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.           Starting in 2025 the Debtor will become a W2 employee and taxes will be deducted from her paychecks.
       Yes. Explain: This will significantly change her monthly net income and DMI

  Official Form 106I                                                               Schedule I: Your Income                                                               page 2
                                       Case 24-19662               Doc 1             Filed 11/14/24            Page 33 of 50

  Fill in this information to identify your case:

                     Ericka L. Alston Buck
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          District of Maryland
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                          expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Daughter                                 19            No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes

                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 3,300.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                   150.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                   375.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
                                         Case 24-19662             Doc 1       Filed 11/14/24     Page 34 of 50

                    Ericka L. Alston Buck
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     300.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                      40.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     600.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     700.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                     300.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                     200.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                     700.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     575.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                     300.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     550.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                  Estimated quarterly taxes
        Specify: ________________________________________________________                                       16.
                                                                                                                                   2,000.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     717.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
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                   Ericka L. Alston Buck
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Alarm system
                                                                                                                                        200.00
                                                                                                                   21.   +$_____________________
Pet expense
______________________________________________________________________________________                                                  100.00
                                                                                                                         +$_____________________
Streaming                                                                                                                               200.00
                                                                                                                         +$_____________________
______________________________________________________________________________________

22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                11,307.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                11,307.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                      13,541.67
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                11,307.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  2,234.67
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                                            Case 24-19662         Doc 1          Filed 11/14/24               Page 36 of 50

Fill in this information to identify your case:

Debtor 1           Ericka L. Alston Buck
                  __________________________________________________________________
                    First Name                Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name          Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Maryland    District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Ericka L. Alston Buck
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              11/14/2024
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
                                            Case 24-19662                      Doc 1        Filed 11/14/24             Page 37 of 50


 Fill in this information to identify your case:

                    Ericka L. Alston Buck
 Debtor 1
                    First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing)   First Name           Middle Name           Last Name



 United States Bankruptcy Court for the: District of Maryland

 Case number
 (if know)                                                                                                                                                       Check if this is
                                                                                                                                                                 an amended
                                                                                                                                                                 filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                            Debtor 1                                              Debtor 2

                                                                            Sources of income         Gross income                Sources of income         Gross income
                                                                            Check all that apply      (before deductions and      Check all that apply      (before deductions and
                                                                                                      exclusions)                                           exclusions)

         From January 1 of current year until the date                         Wages, commissions,                                   Wages, commissions,
         you filed for bankruptcy:                                             bonuses, tips      $ 72,000.00                        bonuses, tips      $
                                                                               Operating a business                                  Operating a business


         For last calendar year:                                               Wages, commissions,                                   Wages, commissions,
                                                                               bonuses, tips      $                                  bonuses, tips      $
         (January 1 to December 31, 2023
                                                                               Operating a business                                  Operating a business


         For the calendar year before that:                                    Wages, commissions,                                   Wages, commissions,
                                                                               bonuses, tips      $                                  bonuses, tips      $
         (January 1 to December 31, 2022
                                                                               Operating a business                                  Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
                                            Case 24-19662               Doc 1          Filed 11/14/24                 Page 38 of 50
Debtor          Ericka L. Alston Buck                                                                                            Case number(if known)
               First Name     Middle Name     Last Name




   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 2 of 6
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Debtor            Ericka L. Alston Buck                                                                                              Case number(if known)
                 First Name       Middle Name     Last Name




12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                    Description and value of any property transferred                      Date payment or Amount of
                                                                                                                                           transfer was    payment
                                                                                                                                           made
                                                                                                                                                            $ 0.00
          James R. Logan PA                                                                                                                                 $
          Person Who Was Paid


          Number
                         Street
          .          .        .
          City       State    ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3 of 6
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Debtor          Ericka L. Alston Buck                                                                                            Case number(if known)
               First Name     Middle Name     Last Name




 Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:        Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 4 of 6
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Debtor         Ericka L. Alston Buck                                                                                           Case number(if known)
              First Name    Middle Name     Last Name




28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 5 of 6
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Debtor         Ericka L. Alston Buck                                                                                                Case number(if known)
              First Name         Middle Name     Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Ericka L. Alston Buck
         Signature of Debtor 1                                                   Signature of Debtor 2

         Date 11/14/2024                                                         Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6 of 6
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ADVANCED MEDICAL MANAGEMENT
c/o BEACON SERVICES, LLC
PO Box 4597
Lutherville Timonium, MD 21094


American Credit Accept
961 E Main St
Spartanburg, SC 29302


BGE
PO Box 1475
Baltimore, MD 21203


Bulle Rock Community Association, Inc.
c/o Rees Broome, PC
7101 Wisconsin Ave., Suite 1201
Bethesda, MD 20814


Bulle Rock HOA
c/o Rees Broome, PC
1900 Gallows Road, Suite 700
Tysons Corner, VA 22182


Bureaus
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541


Capital One
Po Box 31293
Salt Lake City, UT 84131


CarMax Auto Finance dba CarMax Business Servi
225 Chastain Meadows Court,
Ste 210
Kennesaw, GA 30144


Celtic Bank/Contfinco
4550 New Linden Hill Rd
Wilmington, DE 19808


Comptroller of MD
301 W. Preston St #409
Baltimore, MD 21201


Credit One Bank Na
Po Box 98875
Las Vegas, NV 89193


Discover Bank
Po Box 30939
Salt Lake City, UT 84130
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Fed Loan Serv
Po Box 60610
Harrisburg, PA 17106


Freedom Mtg
907 Pleasant Valley Ave Ste 3
Mount Laurel, NJ 08054


Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346


LVNV Funding
Resurgent Capital Services
PO Box 10587
Greenville, SC 29603


Maryland Transportation Authority
2310 Broening Highway
Baltimore, MD 21224


MD EZ Pass
1 Turnpike Dr
Perryville, MD 21903


MD CCU
300 W. Preston St
Baltimore, MD 21201


Midland Credit
350 Camino DeLa Reina suite 100
San Diego, CA 92108


MVA
6601 Ritchie Hwy
Glen Burnie, MD 21062


NPRTO North-East, LLC
256 West Data Drive
Draper, UT 84020


Portfolio Recovery
120 Corporate Blvd #100
Norfolk, VA 23502


Santander
PO Box 560284
Dallas, TX 75356


Self/Atlantic Capital
945 E Paces Ferry Rd Ne
Atlanta, GA 30326
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Syncb/Tjx
Po Box 965015
Orlando, FL 32896


US Dept of HUD
451 7th Street SW
Washington, DC 21410


Wells Fargo Bank, N.A.
PO Box 10438, MAC F8235-02F
Des Moines, IA 50306-0438


Westlake Financial
4751 Wilshire Blvd #100
Los Angeles, CA 90010


Wf Bank Na
Po Box 14517
Des Moines, IA 50306
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                                 United States Bankruptcy Court
                                 District of Maryland




         Ericka L. Alston Buck
In re:                                                             Case No.

                                                                   Chapter    13
                      Debtor(s)




                                 Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               11/14/2024                           /s/ Ericka L. Alston Buck
Date:
                                                    Signature of Debtor



                                                    Signature of Joint Debtor
                    Case 24-19662           Doc 1       Filed 11/14/24           Page 47 of 50




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                 A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                             together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                     address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do             you file a statement with the court asking that
    not file this information within the deadlines set by        each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                 Understand which services you
    their deadlines, go to:                                      could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms               counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
consequences
                                                                 receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                  you must receive it within the 180 days before
      assets or make a false oath or statement                   you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                  is usually conducted by telephone or on the
      in writing—in connection with a                            Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                       In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
      All information you supply in connection                  management instructional course before you
      with a bankruptcy case is subject to                       can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                 case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                     You can obtain the list of agencies approved to
      offices and employees of the U.S.                          provide both the briefing and the instructional
      Department of Justice.                                     course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                     education-courses.
mailing address                                                  In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                        http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                   forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                  debtor-education-courses.
Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
any changes in your address.


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